Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 1 of 17




     Index No. 22 CV 1685 (LGS)

     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK


      JUDITH MAYSONET and ANTHONY McFARLANE as
      Parents and Natural Guardian of A.M., and JUDITH
      MAYSONET and ANTHONY McFARLANE, Individually,

                                                     Plaintiffs,

                             -against-

      NEW YORK CITY DEPARTMENT OF EDUCATION,

                                                    Defendant.



      DEFENDANT’S REPLY MEMORANDUM OF LAW IN
      FURTHER SUPPORT OF ITS CROSS-MOTION FOR
                SUMMARY JUDGMENT



                HON. SYLVIA O. HINDS-RADIX
            Corporation Counsel of the City of New York
                Attorney for Defendant
                100 Church Street, Room 2-192
                New York, N.Y. 10007


                Of Counsel: Aaron Wiener
                Tel: (212) 356-4362
                City File No.: 2022-014453
             Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 2 of 17




                                                  TABLE OF CONTENTS

                                                                                                                                  Page(s)
TABLE OF AUTHORITIES ..........................................................................................................ii
PRELIMINARY STATEMENT ....................................................................................................1
ARGUMENT ..................................................................................................................................2
          POINT I
          DENIAL OF A FREE APPROPRIATE PUBLIC EDUCATION DOES NOT BAR
          REDUCTION OF A TUITION AWARD BASED ON EQUITABLE
          CONSIDERATIONS. .........................................................................................................2


          POINT II
          THE SRO CORRECTLY FOUND THAT PLAINTIFFS’ OBSTRUCTIVE
          AND UNREASONABLE ACTIONS WARRANTED A REDUCTION OF THEIR
          AWARD. ............................................................................................................................6
                     A. Plaintiffs’ Actions Prior to the June 4, 2018 Meeting, and Their Unexplained
                        Failure to Attend Were Unreasonable...............................................................7

                     B. Plaintiffs’ Failure to Provide the iHope Progress Reports was Uncooperative,
                        Obstructive, and Unreasonable .........................................................................9

          POINT III
          THE SRO CORRECTLY FOUND PLAINTIFFS FAILED TO MEET THEIR BURDEN,
          AND ARE NOT ENTITLED TO DIRECT FUNDING................................................... 10


CONCLUSION ............................................................................................................................. 13




                                                                      i
             Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 3 of 17




                                                 TABLE OF AUTHORITIES

                                                                                                                                    Page(s)
Cases
Bd. of Educ. v. M.N.
        2017 U.S. Dist. LEXIS 169926 (S.D.N.Y. Oct. 13, 2017) .................................................9
Connors v. Mills
      34 F. Supp. 2d 795 (N.D.N.Y. 1998) ................................................................................ 12

D.C. v. Klein Indep. Sch. Dist.
        860 Fed. Appx. 894 (5th Cir. 2021) ....................................................................................5

Donohue v. New York City Dep’t of Educ.
      2021 U.S. Dist. LEXIS 189873 (S.D.N.Y. Sept. 30, 2021) .............................................4, 6
E.M. v. New York City Dep’t of Educ.
       758 F.3d 442 (2d Cir. 2014).............................................................................................. 11

G.B. v. New York City Dep’t of Educ.
        145 F. Supp. 3d 230 (S.D.N.Y. 2015).................................................................................7
IMG Mem’l Fund 1, LLC v. First Landing Fund, LLC
     2022 U.S. Dist. LEXIS 48701 (S.D.N.Y. Mar. 18, 2022) ..................................................2

Mr. & Mrs. A v. New York City Dep’t of Educ.
      769 F. Supp. 2d 403 (S.D.N.Y. 2011)............................................................................... 11
N.R. v. N.Y.C. Dep’t of Educ.
        2009 U.S. Dist. LEXIS 27273 (S.D.N.Y. Mar. 31, 2009) ...............................................3, 4

Neske v. Porter
       2022 U.S. Dist. LEXIS 143952 (S.D.N.Y. Aug. 11, 2022) ....................................4, 5, 6, 9

Pettaway v. Nat’l Recovery Sols., LLC
      955 F.3d 299 (2d Cir. 2020)................................................................................................2

Statutes
20 U.S.C. § 1400 .............................................................................................................................1
20 U.S.C. § 1412(a)(10)(C)(iii)(III) .............................................................................................2, 7




                                                                      ii
             Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 4 of 17




Regulations

34 C.F.R. § 300.322 .....................................................................................................................8, 9

8 NYCRR § 200.5(c)(2)(iv) ............................................................................................................8

8 NYCRR § 200.5(d)(7) .................................................................................................................9




                                                                    iii
         Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 5 of 17




                               PRELIMINARY STATEMENT

               Defendant New York City Department of Education respectfully submits this reply

memorandum in further support of its cross-motion for summary judgment dated July 16, 2022

(ECF No. 22), and in response to Plaintiffs’ memorandum in opposition to the Department’s cross-

motion and reply in support of their motion (“Pltf.s’ Reply”) (ECF No. 27). In this action, brought

pursuant to the Individuals with Disabilities Education Act (“IDEA”), 20 U.S.C. § 1400, et seq.,

Plaintiffs seek partial reversal of an administrative decision issued by the New York State

Education Department’s Office of State Review (the “SRO”), which found Plaintiffs obstructed

the Department’s Committee on Special Education (“CSE”) in formulating Plaintiff A.M.’s

individualized education plan, warranting a 20 percent reduction of the of the tuition award

associated with her private school education for the 2018-2019 school year. Plaintiffs also seek

reversal of the decision that the Department was responsible for funding such an award through

reimbursement to Plaintiffs upon proof of having made payments to the private school.

               Plaintiffs argue for the first time that because the SRO found the Department failed

to offer A.M. a free appropriate public education (“FAPE”), it is somehow precluded from seeking

to uphold the SRO’s reduction based on equitable considerations. Not only should this argument

not be considered, but it has no support in the law, as it wholly disregards the third prong of the

relevant test. Plaintiffs also wrongly argue they did not obstruct the CSE or otherwise act

unreasonably, despite the SRO’s thorough and well-reasoned finding to the contrary. Finally,

Plaintiffs argue they are entitled to retrospective direct funding, despite the SRO’s finding that

they bore the burden to demonstrate a financial inability to pay the tuition costs of the private

school, a showing they failed to make. None of Plaintiff’s arguments have merit, and because the

SRO’s decision is thorough and well-reasoned, it is entitled to deference and should be upheld.
         Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 6 of 17




                                           ARGUMENT

                                              POINT I

                       DENIAL OF A FREE APPROPRIATE PUBLIC
                       EDUCATION DOES NOT BAR REDUCTION
                       OF A TUITION AWARD BASED ON
                       EQUITABLE CONSIDERATIONS.

               The first and second prongs of the Burlington/Carter framework are not in dispute

in this matter, as the Department does not challenge the SRO’s finding that it denied A.M. a FAPE

for the 2018-2019 school year and that Plaintiffs’ unilaterally chosen placement at the International

Institute for the Brain (“iBrain”) was an appropriate placement. As to the remaining prong—

whether the equities weigh in favor of tuition funding—Plaintiffs argue in part that because the

Department conceded it did not offer A.M. a FAPE for the 2018-2019 school year, it is precluded

from arguing that the SRO correctly found that equitable considerations warrant a reduction in the

tuition award. Pltf.s’ Reply, at p. 3. Plaintiffs’ argument is not legally sound, and should not be

considered.

               As a threshold matter, because Plaintiffs did not support this argument in their

initial moving papers (ECF No. 19), the Court may, and should, elect not to consider it. 1 See

Pettaway v. Nat’l Recovery Sols., LLC, 955 F.3d 299, 305 n.2 (2d Cir. 2020) (“We need not address

this argument because it was raised on appeal for the first time in . . . reply and is therefore waved

[sic].”); IMG Mem’l Fund 1, LLC v. First Landing Fund, LLC, No. 21-CV-3263, 2022 U.S. Dist.

LEXIS 48701, at *18-19 (S.D.N.Y. Mar. 18, 2022) (“the Court declines to consider the arguments

raised for the first time in the reply.”) (Schofield, J.). If the Court considers Plaintiffs’ argument,


1
  Though Plaintiffs stated that “a school district is precluded from asserting that the equities weigh
in its favor when it concedes it failed to provide the student with a FAPE,” this statement was
made under the heading “IDEA’s Legal Framework” and Plaintiffs did not address the issue within
their “Argument” section or otherwise support this statement. ECF No. 19, at p. 7.


                                                  2
         Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 7 of 17




the Court should reject it, as there is no authority to support the contention that the Department’s

failure to provide a FAPE bars reduction of an award based on equitable considerations.

               In support of their proposition that the third prong of the Burlington/Carter

framework should be disregarded here, Plaintiffs rely on N.R., a case that does not substantiate

their view, and is distinguishable from the instant matter. See N.R. v. N.Y.C. Dep’t of Educ., No.

07-cv-9648, 2009 U.S. Dist. LEXIS 27273 (S.D.N.Y. Mar. 31, 2009). In N.R., the plaintiff filed a

due process complaint alleging the denial of a FAPE, and sought funding for the unilateral

placement of her child at a private school. Id. At a hearing before an Independent Hearing Officer

(“IHO”), the Department conceded it failed to provide the student with a FAPE, however the IHO

found the plaintiff’s unilateral placement was not appropriate, and denied funding on that basis.

Id. at *10-11. On appeal, the SRO reversed the IHO’s decision regarding the appropriateness of

the unilateral placement, but upheld the decision to deny funding based on the plaintiff’s failure to

provide the Department with adequate notice of her intention to place her child at a private school

during the process of developing the child’s Individualized Education Plan (“IEP”).

               On appeal of the SRO’s decision to federal court, the District Court considered the

equities but found they did not favor a denial of funding. N.R., 2009 U.S. Dist. LEXIS 27273, at

*20. There, the Court held the underlying administrative record reflected the parent had acted

reasonably during the IEP process, “cooperated with the Department throughout the placement

process,” “attended every scheduled CSE meeting, provided the CSE with every document that it

requested, [and] visited [the] Department’s belatedly-provided school placement.” Id. On this

basis, the Court found that a reduction was not warranted because the plaintiff cooperated with the

CSE. Id. at *20-21. Such cooperation with the CSE however, is lacking in the instant matter.




                                                 3
           Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 8 of 17




               In contrast to N.R., the record before this Court reflects that Plaintiffs obstructed

the IEP process and acted unreasonably by making it difficult for the CSE to work with them in

preparing A.M.’s IEP for the 2018-2019 school year. Plaintiffs did not attend the meeting of the

CSE, and did not provide the documentation necessary to prepare an appropriate IEP. See Revised

Joint Statement of Undisputed Fact (ECF No. 26) (“Joint Statement”), at ¶ 23 (“the parent’s actions

impeded the process leading up to the June 2018 CSE meeting, and that along with the failure to

provide private school progress reports and the refusal to attend the June CSE meeting itself after

it was re-scheduled to meet the parent’s scheduling preferences, was unreasonable.”). Thus, the

plaintiff in N.R., and Plaintiffs here are not similarly situated with respect to their conduct toward

the CSE.

               Moreover, nothing in the N.R. decision supports the proposition that the denial of a

FAPE precludes a reduction based on equitable considerations. Indeed, the Court in N.R.

specifically addressed the equitable considerations despite the lack of any challenge to the SRO’s

findings regarding the first two prongs of the Burlington/Carter test. Since issuance of the Court’s

decision in N.R., courts have expressly rejected the same argument Plaintiffs offer here. See, e.g.,

Neske v. Porter, No. 21-cv-10363, 2022 U.S. Dist. LEXIS 143952, at *14 (S.D.N.Y. Aug. 11,

2022) (“Plaintiffs’ argument that they are entitled to reimbursement because Defendants concede

[the student] was not provided a FAPE is legally wrong.”); Donohue v. New York City Dep’t of

Educ., No. 20-cv-1942, 2021 U.S. Dist. LEXIS 189873, at *29-30 (S.D.N.Y. Sept. 30, 2021)

(holding “not only is N.R. not binding on this Court, but even if it were, the record does not reflect

that Parent had no role in impeding the IEP process.”). 2



2
 Like the student in the instant case, the students in both Neske and Donohue attended iBrain, and
were represented by Plaintiffs’ counsel’s law firm here.


                                                  4
         Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 9 of 17




               Plaintiffs’ citation to the dissenting opinion in D.C. v. Klein Indep. Sch. Dist., an

unpublished decision of the Fifth Circuit, for its statement that “a party seeking equitable relief

must not have ‘unclean hands’” is equally unavailing. 860 Fed. Appx. 894, 911 n.10 (5th Cir.

2021); Pltf.s’ Reply, at p. 3. The section of the D.C. decision from which Plaintiffs extracted their

quotation discussed “unclean hands” in the context of the plaintiff having “hijacked the [IEP]

proceedings” and pressuring the school district into providing the wrong compensatory education

services to the student, and thereafter seeking to recover for the district providing the wrong

services. Id., at 911. The dissenting opinion in D.C. did not discuss in any way whether a school

district’s denial of a FAPE constitutes unclean hands for purposes of determining a reduction based

on equitable considerations. See generally, id. The majority’s decision likewise did not discuss

such a proposition, and indeed did not discuss equitable considerations or “unclean hands” at all,

as it found the plaintiff was no longer seeking equitable relief, thereby rendering the plaintiff’s

claim moot. See id., at 907-09.

               Rejecting Plaintiffs’ argument is also appropriate because accepting it would render

the third prong of the Burlington/Carter framework entirely superfluous. Under Plaintiffs’ view,

if a FAPE is denied, an equities consideration would be barred. Conversely, if a FAPE is provided,

any funding award would be precluded, and there would be no need to engage in an equities

consideration. This is not the outcome the Supreme Court envisioned in formulating the

Burlington/Carter test. See Neske, 2022 U.S. Dist. LEXIS 143952, at *14 (“Plaintiffs’ view of the

Burlington/Carter test, thus leaves no scenario in which the third prong has any effect, which is

clearly not the law.”).

               The SRO properly engaged in an equities consideration after finding in favor of the

Plaintiffs on prongs I and II of the Burlington/Carter test. Accordingly, the SRO properly



                                                 5
          Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 10 of 17




considered Plaintiffs’ unreasonable and obstructive behavior. As discussed below, the SRO’s

decision to reduce Plaintiffs’ award based on such considerations was well-justified and should be

upheld.

                                           POINT II

                      THE SRO CORRECTLY FOUND THAT
                      PLAINTIFFS’   OBSTRUCTIVE   AND
                      UNREASONABLE ACTIONS WARRANTED A
                      REDUCTION OF THEIR AWARD.

               Plaintiffs erroneously argue that their failure to attend the June 4, 2018 CSE

meeting, as well as their actions toward the CSE during the events leading up to the meeting,

cannot be considered obstructive or unreasonable. Pltf.s’ Reply, at p. 4. Here, the SRO found

Plaintiffs failed to provide relevant progress reports to the CSE, and repeatedly requested to

reschedule the CSE meeting they ultimately did not attend, warranting a reduction of their award

by 20 percent. See Joint Statement, at ¶ 41. Against the weight of the SRO’s thorough and well-

reasoned decision, Plaintiffs make two principle arguments: first, their attendance at the IEP

meeting was not required, and could not have been obstructive; second, they were not required to

provide progress reports to the CSE nor were they required to even ask the private school to

provide them. Taken together, Plaintiffs’ argument appears to be that while the CSE was required

to accommodate their every request, nothing was required of them, not even a token degree of

cooperation. Not surprisingly, the law does not support this argument.

               The IDEA envisions a process by which school districts and families cooperate to

determine appropriate educational programs and placements for students with disabilities. See

Donohue, 2021 U.S. Dist. LEXIS 189873, at *32. Indeed, “Congress specifically amended the

IDEA to place some responsibility on parents by instructing courts to reduce or deny tuition

funding if parents behave unreasonably.” Neske, 2022 U.S. Dist. LEXIS 143952, at *14; see 20


                                                6
        Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 11 of 17




U.S.C. § 1412(a)(10)(C)(iii)(III). Therefore, parents’ cooperation with the CSE is expected under

the IDEA, and cooperation or lack thereof may be considered when determining whether the

equities warrant a reduction or denial of the tuition award. See G.B. v. New York City Dep’t of

Educ., 145 F. Supp. 3d 230, 257 (S.D.N.Y. 2015) (“Courts have considered a variety of factors at

[prong III] including whether the parents cooperated with the CSE (e.g., providing reports,

attending the meeting, participating in the meeting) . . . [and] whether the parents or the DOE

unreasonably delayed anything . . . .” (parenthesis in original) (internal citations omitted)). As

Plaintiffs themselves admit, “the IEP process is intended to be a collaborative process between

school districts and families.” Pltf.’s Reply, at p. 4. Here, Plaintiffs did not cooperate with the CSE,

and the SRO properly reduced their award.

                A. Plaintiffs’ Actions Prior to the June 4, 2018 Meeting, and Their
                   Unexplained Failure to Attend Were Unreasonable.

                The SRO correctly found that in light of their multiple requests regarding the

scheduling and format of the June 4, 2018 CSE meeting which they did not attend, Plaintiffs acted

unreasonably. Plaintiffs argue that because there is no explicit requirement that they attend the

meeting of the CSE, their actions cannot be viewed as unreasonable. Pltf.’s Reply, at p. 4. Plaintiffs

seem to ignore the fact that regardless of whether they were required to attend, the IDEA requires

that they act reasonably. See 20 U.S.C. § 1412(a)(10)(C)(iii)(III). In jumping straight to the issue

of whether they were required to attend the meeting, Plaintiffs gloss over the fact that the SRO

viewed not just their absence at the meeting as unreasonable, but also the fact the Department

accommodated Plaintiffs’ multiple requests to reschedule and hold the meeting on a particular day

of the week. See Joint Statement, at ¶ 38 (“the refusal to attend the June CSE meeting itself after

it was re-scheduled to meet the parent’s scheduling preferences, was unreasonable.”).




                                                   7
         Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 12 of 17




                Plaintiffs assert the Department failed to make reasonable efforts to secure their

attendance at the CSE meeting by not having a district physician attend in person and by not setting

the meeting to take place at A.M.’s private school, the International Academy of Hope (“iHope”).

Pltf.’s Reply, at pp. 5-6. In the Plaintiffs’ words, the Department “blatantly ignored two out of the

three requests made by the Parents.” Id., at p. 6. This is simply untrue. The Department advised

Plaintiffs it would make a physician available by phone, and that it could not hold the meeting at

iHope without an explanation as to the reason for Plaintiffs’ requested location. See Joint

Statement, at ¶ 18. Plaintiffs did not explain the reason for either request to the Department. Even

now, Plaintiffs offer no reason for these requests.

                Rather than provide an explanation, Plaintiffs argue the Department could have

“easily made the effort” to simply acquiesce to their demands. Pltf.’s Reply, at p. 5. Plaintiffs’

argument appears to be based on 34 C.F.R. § 300.322, which requires the Department to take steps

to ensure one or both parents attend or have the opportunity to participate in the CSE meeting. The

regulation does not state the Department must accommodate every request about the format of the

CSE meeting, and indeed nothing in the IHO or SRO decisions found that the Department failed

any of its obligations in this respect. Thus, Plaintiffs’ argument that the Department was required

to “make every effort” boils down to an assertion that if the Department can theoretically

accommodate a request—regardless of how taxing it may be—it is obligated to do so. Pltf.’s Reply,

at p. 5. This is not the law.

                As to their request for in-person attendance of a physician, Plaintiffs were allowed

to request that a physician attend the meeting under 8 NYCRR § 200.5(c)(2)(iv). This regulation,

however, does not require the physician to attend the meeting in-person. Contrary to Plaintiffs’

assertion, the regulation “explicitly provides that members may attend the CSE meeting via



                                                 8
        Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 13 of 17




teleconference or video conference technology.” Neske, 2022 U.S. Dist. LEXIS 143952, at *11

(citing 8 NYCRR § 200.5(d)(7)). Accordingly, the Department’s offer to have a physician attend

the CSE meeting by telephone comports with the applicable regulation, and provides no legitimate

basis for Plaintiffs to argue the Department failed to make sufficient efforts to secure their

attendance.

               Likewise, there is no authority to support Plaintiffs’ assertion that the Department

was required to hold the CSE meeting at iHope. This is because 34 C.F.R. §300.322 provides that

the meeting should be scheduled at a mutually agreed on place, not that the Department must agree

to any request for any location made by a parent.

               Essentially, Plaintiffs argue that while the Department should have done more to

accommodate their requests regarding the meeting, Plaintiffs are shielded from being viewed as

unreasonable because they were not required to attend. Plaintiffs are not correct. Accordingly, the

SRO correctly found the Plaintiffs acted unreasonably with respect to scheduling and setting the

CSE meeting they failed to attend without explanation.

               B. Plaintiffs’ Failure to Provide the iHope Progress Reports was
                  Uncooperative, Obstructive, and Unreasonable.

               The SRO also correctly found Plaintiffs were obstructive and unreasonable in

failing to provide the CSE with A.M.’s recent progress reports from iHope. Consideration of a

plaintiff’s failure to provide private school progress reports to the CSE is appropriate when

determining whether the equities favor reduction in funding. Bd. of Educ. v. M.N., No. 16-CV-

09448, 2017 U.S. Dist. LEXIS 169926, at *27 (S.D.N.Y. Oct. 13, 2017). Here, Plaintiffs neither

provided the reports to the CSE, nor did they take any steps to even attempt to do so.

               Plaintiffs contend that they had no responsibility to make sure iHope provided the

reports to the CSE. In doing so, Plaintiffs elevate technical assertions regarding who was literally


                                                 9
         Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 14 of 17




tasked with transmitting the progress reports above the practical reality that had Plaintiffs

instructed iHope to provide the reports, iHope would have been obligated to do so. In making such

a technical argument, however, Plaintiffs’ position becomes internally contradictory. Compare

Pltf.’s Reply, at p. 6 (“Plaintiffs are not suggesting that they have no control over these evaluations

or the permissions regarding sharing the evaluations.”) with p. 7 (“Defendants . . . make the

completely baseless claim that ‘it is reasonable to infer that the Plaintiffs had copies of the progress

reports in their control’ . . . .”).

                 Despite Plaintiffs’ creative argument, by their own admission they had at least some

degree of control over the progress reports. In the spirit of cooperation with the CSE, they should

have provided them, or instructed iHope to do so. Indeed, a simple email or phone call to the school

likely would have accomplished the task. That Plaintiffs apparently made no such efforts is

revealing of their obstructive and uncooperative behavior. Requests for progress reports by the

CSE to a private school will always be ineffective if parents do not authorize their release. Here,

the record is devoid of any information demonstrating Plaintiffs’ authorization or instruction to

iHope. Accordingly, the SRO’s decision to reduce Plaintiffs’ award should be upheld.

                                             POINT III

                          THE SRO CORRECTLY FOUND PLAINTIFFS
                          FAILED TO MEET THEIR BURDEN, AND
                          ARE NOT ENTITLED TO DIRECT FUNDING.

                 The SRO correctly found that to demonstrate entitlement to direct retrospective

funding to iBrain, Plaintiffs bore the burden to demonstrate a financial inability to pay the costs of

tuition. Because the SRO found that Plaintiffs failed to offer any evidence as to their inability to

front the costs of tuition, the SRO correctly found Plaintiffs did not meet their burden. Joint

Statement, at ¶ 40. Rather than dispute the SRO’s finding that they failed to meet their burden, and



                                                  10
        Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 15 of 17




therefore were entitled only to reimbursement upon proof of payment, Plaintiffs argue that they

have no such burden. Plaintiffs’ position is contrary to law.

               As argued in the Department’s cross-motion Courts in the Second Circuit have

made clear that although the IDEA authorizes retrospective direct funding to a private school, such

a remedy is appropriate only where a plaintiff has demonstrated financial inability to make

payments. Memorandum of Law In Support of Cross-Motion, at p. 18 (ECF No. 22). In opposing

this principle, Plaintiffs incorrectly assert the case of Mr. & Mrs. A v. New York City Dep’t of

Educ., 769 F. Supp. 2d 403 (S.D.N.Y. 2011) drew a distinction between retrospective and

prospective funding in terms of the burden to show inability to make payments. See Plaintiffs’

Reply, at p. 8. Nothing in the decision held that payments were to be made by direct funding as

opposed to reimbursement depending on whether such payments were intended to be retrospective

or prospective. Instead, in ruling that direct funding was appropriate, the Court in Mr. & Mrs. A.

was careful to highlight the fact that the parents lacked the financial resources to make payments

to the unilateral placement. Id. The Court found that retrospective direct tuition payment was

appropriate where a private school enrolls the child of parents who “lack the financial resources to

front the costs of private school tuition,” and thus “take the risk that the parents will not be able to

pay tuition costs—or will take years to do so . . . .” Id. at 428. Here, Plaintiffs have not shown they

lack financial resources.

               Plaintiffs also ignore the holding in E.M. v. New York City Dep’t of Educ. that the

IDEA contemplates direct payment to a private school in “appropriate circumstances.” 758 F.3d

442, 453 (2d Cir. 2014). There, the Second Circuit held that “where the equities call for it, direct

payment fits comfortably within the Burlington-Carter framework . . . .” Id. (emphasis added).

Such appropriate circumstances are those in which a plaintiff demonstrates an inability to make



                                                  11
         Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 16 of 17




tuition payments. Here, Plaintiffs did not satisfy their burden with respect to their financial ability

to make tuition payments before the IHO, SRO, and this Court, and therefore are not entitled to

the remedy direct funding to iBrain.

                Lastly, Plaintiffs argue that the determination of what constitutes a financial ability

to pay would provide administrative bodies and courts with impermissibly broad discretion. This

is not the case, especially because, as Plaintiffs concede, the court in Connors held that guidance

for such a determination could be drawn from financial aid evaluations. Pltf.s’ Reply, at p. 11

(citing Connors v. Mills, 34 F. Supp. 2d 795, 805 (N.D.N.Y. 1998)). Rather than acknowledge that

this determination is within courts’ abilities, Plaintiffs continue to present alarmist hypotheticals

in an effort to demonstrate how ambiguous the standard allegedly would be. Among the scenarios

offered by Plaintiffs are situations in which a family would have to sell their car or other

possessions, take out a second mortgage on their home, work a second job, or forego health

insurance in order to make tuition payments. Pltf.s’ Reply, at p. 11; Plaintiff’s Memorandum of

Law in Support of Motion for Summary Judgment, at p. 27 (ECF No. 19). These examples are

nothing more than a distraction from the actual issue before this Court, because any reasonable

jurist would find that a family forced to choose between health insurance (or any of the other

options Plaintiffs offer, barring exceptional circumstances) and tuition payments is not financially

able to front the costs of tuition.

                Regardless of the appropriate calculus to determine a family’s financial ability to

make tuition payments, there is no ambiguity as to whether Plaintiffs made a sufficient showing,

because they made no showing whatsoever. Accordingly, the SRO’s decision that Plaintiffs are

entitled to reimbursement only upon proof of payments made should be upheld.




                                                  12
         Case 1:22-cv-01685-LGS Document 28 Filed 08/24/22 Page 17 of 17




                                          CONCLUSION

               For the foregoing reasons, the Department respectfully requests that the Court deny

Plaintiffs’ Motion for Summary Judgment, grant Defendant’s cross-motion, dismiss the Complaint

in its entirety, and grant Defendant such other and further relief as the Court deems just and proper.


Dated:         New York, New York
               August 24, 2022

                                                      HON. SYLVIA O. HINDS-RADIX
                                                      Corporation Counsel of the
                                                        City of New York
                                                      Attorney for Defendant
                                                      100 Church Street
                                                      New York, NY 10007
                                                      (212) 356-4362
                                                      awiener@law.nyc.gov

                                               By:    /s/ Aaron Wiener
                                                      Aaron Wiener
                                                      Assistant Corporation Counsel




                                                 13
